                         UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

 In the Matter of:                                 }
 JIT INDUSTRIES, INC.                              }    CASE NO. 18-80892-CRJ-11
                                                   }
                                                   }    CHAPTER 11
        Debtor                                     }


   ORDER SETTING DEADLINE TO FILE CHAPTER 11 PLAN AND DISCLOSURE
        STATEMENT AND SETTING BAR DATE FOR FILING CLAIMS

        On April 9, 2018, a Status Conference was held in this case pursuant to 11 U.S.C. ' 105(d)
 to discuss the expeditious and economical resolution of this case, including scheduling deadlines.
 Appearing at the hearing were Tazewell T. Shepard, IV, Esq., counsel for Debtor; Kevin Heard,
 Esq., counsel for JIT Military Sales; and Richard Blythe, Esq., counsel for the Bankruptcy
 Administrator.
        At the Status Conference, discussion was had regarding the procedural status of the case,
 and suggestions were solicited regarding a realistic, reasonable deadline for the Debtor to file a
 Disclosure Statement and Plan, and a reasonable bar date for filing claims. Based upon the
 foregoing,
        IT IS HEREBY ORDERED, ADJUDGED AND DECREED as follows:
        1. Pursuant to Bankruptcy Rule 3016(b), the deadline to file the Debtor=s Chapter 11 Plan
              and Disclosure Statement is fixed as Monday, September 10, 2018, by 5:00 p.m.,
              CDT.
        2. Pursuant to Bankruptcy Rule 3003(c), the deadline for all creditors to file a Proof of
              Claim is Thursday, August 9, 2018, by 5:00 p.m., CDT.
        3. Counsel for the Debtor is directed to immediately give notice of the Claims Bar Date
              by mailing a copy of this Order to the Debtor, all creditors, governmental units, Richard
              Blythe for the Bankruptcy Administrator=s office, and all parties requesting notice.

        Dated this the 10th day of April, 2018.
                                                        /s/ Clifton R. Jessup, Jr.
                                                        Clifton R. Jessup, Jr.
                                                        United States Bankruptcy Judge




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